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                     Exhibit
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Cavanagh, Matthew J.

From:                                          Ryan Gile <rg@gilelawgroup.com>
Sent:                                          Friday, August 14, 2020 2:18 PM
To:                                            Cavanagh, Matthew J.
Cc:                                            Cupar, David B.
Subject:                                       [External] RE: Spectrum Laboratories LLC v. Aim High Investment Group, LLC
                                               (AIMHIGH.0022L)


Hi Matt,

Thank you for providing the copy of the letter and for the additional time.

Your firm’s correspondence was quite clear in stating that “Spectrum has obtained evidence that your
company’s XStream synthetic urine product does, in fact, infringe Spectrum’s” patents. My email requested
that you provide such evidence as part of our firm’s evaluation, but it does not appear that you included such
with your response.

Indeed, such evidence must have been so clear and strong that your client did not wish to wait for my client to
even respond to your client’s original July 31st letter by the August 21, 2020 deadline, and instead directed your
firm to send out your own letter ten days later (prior to the deadline) with its stronger assertions and demands.

So I wish to reiterate our request. If Spectrum has evidence that my client’s product does infringe, then turn
such evidence over so it can be evaluated and, if necessary, addressed in our response – and if there are
confidentiality concerns, I can address such concerns in the same manner you propose. You would inevitably
disclose such evidence in any lawsuit or certainly early in discovery, so there is no reasonable not to turn it over
now if Spectrum is confident in the strength of such evidence and the validity of its position on patent
infringement.

Best Regards,

Ryan Gile
Gile Law Group
Intellectual Property • Corporate Transactions • Business Litigation
The Canyons at Summerlin
1180 N. Town Center Drive, Suite 100, Las Vegas, Nevada 89144
T: (702) 703-7288 Website: www.GileLawGroup.com E-mail: rg@gilelawgroup.com

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regard.




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From: Cavanagh, Matthew J. <mcavanagh@mcdonaldhopkins.com>
Sent: Friday, August 14, 2020 10:35 AM
To: 'Ryan Gile' <rg@gilelawgroup.com>
Cc: Cupar, David B. <dcupar@mcdonaldhopkins.com>
Subject: RE: Spectrum Laboratories LLC v. Aim High Investment Group, LLC (AIMHIGH.0022L)

Ryan,

Attached is the original letter that was sent by Spectrum.

You may have until August 28 to respond to my more recent letter.

If Aim High believes it does not infringe, then please have it provide the formula so we can show how XStream’s own
formula compares to the patents’ claims. If there are confidentiality concerns, I can agree to treat the formula as
ATTORNEYS’ EYES ONLY and not share it with Spectrum or anyone else outside of our law firm.

Regards,
Matt




Matt Cavanagh
Member

T: 216.348.5730                        600 Superior Avenue East
F: 216.348.5474                        Suite 2100
mcavanagh@mcdonaldhopkins.com          Cleveland, OH 44114
www.mcdonaldhopkins.com




From: Ryan Gile [mailto:rg@gilelawgroup.com]
Sent: Thursday, August 13, 2020 11:50 AM
To: Cavanagh, Matthew J.
Subject: [External] Spectrum Laboratories LLC v. Aim High Investment Group, LLC (AIMHIGH.0022L)

For Settlement Purposes Only
Not Admissible Under FRE 408

Dear Mr. Cavanagh,

Please be advised that this law firm represents Aim High Investment Group, LLC (“Aim High”). This email is
in response to your firm’s letter dated August 7, 2020, written on behalf of your client, Spectrum Laboratories,
LLC (“Spectrum”), alleging patent infringement by Aim High of two of Spectrum’s U.S. patents.

I am just beginning the process of investigating the facts of this matter and reviewing the information
provided in your letter to understand more clearly the facts and circumstances giving rise to the present
dispute.


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To that end, your letter references a July 31, 2020 letter from Spectrum’s in-house counsel; however, my
client was not able to provide me with a copy of such correspondence. My client indicated that it never
received such letter (likely because of a recent warehouse move) and that no copy was included in this most
recent correspondence (despite the letter indicating such). Would you please email me a copy of this letter
for further evaluation in connection with your client’s allegations?

In addition, your letter also expressly references evidence that Aim High’s XStream product infringes upon
your client’s patent. Please provide us with such evidence. And if your client has already prepared claim
charts to illustrate the purported infringement, we would also ask for you to turn those over as well.

Finally, out of professional courtesy, I would respectfully request additional time to Friday, August 28,
2020, in order for me to respond to your letters. I appreciate in advance your professional courtesy in this
matter. Giving me this time will allow me to have a better understanding regarding the full scope of your
client’s claims and possibly allow us to bring this matter to a quick and amicable resolution.

Meanwhile, if you have any questions about any of the above, feel free to contact me directly.

Nothing contained in or omitted from this correspondence is or shall be deemed to be either a full statement of
the facts or applicable law, an admission of any fact, or a waiver or limitation of any of my client’s rights or
remedies, equitable or otherwise, all of which are specifically retained and reserved.

Best Regards,

Ryan Gile
Gile Law Group
Intellectual Property • Corporate Transactions • Business Litigation
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T: (702) 703-7288 Website: www.GileLawGroup.com E-mail: rg@gilelawgroup.com

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